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IN THE UNITED STATES DISTRICT COURT gia spp 93 py 3: 19
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UBPUTY we C—

 

 

UNITED STATES OF AMERICA NO. 3:19-CR-090-S
v.
HARRINSON CORREDOR (02)
a/k/a MONO
FACTUAL RESUME

In support of Harrinson Corredor’s plea of guilty to the offense in Count One of
the Superseding Indictment, the defendant, Harrinson Corredor; the defendant’s attorney,
William Hermesmeyer; and the United States of America (the government) stipulate and
agree to the following:

ELEMENTS OF THE OFFENSE
To prove the offense alleged in Count One of the Superseding Indictment,
charging a violation of 18 U.S.C. § 1956(a)(1)(A)(i) and (h), that is, conspiracy to
launder monetary instruments, the government must prove each of the following elements
beyond a reasonable doubt:
. First; that the defendant and at least one other person made an agreement

to commit the crime of money laundering (promotion), in violation of 18

U.S.C. § 1956(a)(1 (A) G);

Second: that the defendant knew of the unlawful purpose of the agreement

and joined in it willfully, that is, with the intent to further the unlawful
purpose.!

 

! Based on Fifth Circuit Pattern Jury Instruction (Crim.) 2.15A (2015). See United States v. Guillermo
Balleza, 613 F.3d 432, 433 n.1 (5th Cir. 2010); Whitfield v. United States, 543 U.S. 209 (2005); United
States v. Fuchs, 467 F.3d 889, 906 (Sth Cir. 2006) (citing United States v. Meshack, 225 F.3d 556, 573-
74 (Sth Cir.2000)).

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The government must also prove beyond a reasonable doubt the object of the
conspiracy, to wit, laundering of monetary instruments, in violation of 18 U.S.C. §
1956(a)(1)(A)(G). The elements of that offense are:

First: That the defendant knowingly conducted or attempted to conduct a
financial transaction;

Second: That the financial transaction or attempted financial transaction ,
involved the proceeds of a specified unlawful activity, namely interference
with commerce by robbery, in violation of 18 U.S.C. §§ 1951(a) and 2;

Third: That the defendant knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity; and

Fourth: That the defendant intended to promote the carrying on of the
specified unlawful activity.’

STIPULATED FACTS:

Beginning on or about June 6, 2016, and continuing through in or around July of
2016, the exact date being unknown, in the Dallas Division of the Northern District of
Texas (NDTX) and elsewhere, the defendant, Harrinson Corredor, did knowingly
combine, conspire, and agree with Elkin Acosta Lopez, Co-Conspirator 1, and other
persons to commit an offense against the United States in violation of 18 U.S.C. § 1956,
to wit: to knowingly conduct and attempt to conduct a financial transaction affecting
interstate and foreign commerce, which involved the proceeds of a specified unlawful

activity, that is, interference with commerce by robbery, in violation of 18 U.S.C.

 

Based on Fifth Circuit Pattern Jury Instruction (Crim.) 2.76A (2015).

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§§ 1951(a) and 2, with the intent to promote the carrying on of said specified unlawful
activity, that is, interference with commerce by robbery, and that while conducting and
attempting to conduct such financial transaction, knew that the property involved in the
financial transaction represented the proceeds of some form of unlawful activity in
violation of 18 U.S.C. § 1956(a)(1)(A)(i).

The defendant admits that he purchased stolen jewelry, gold, and diamonds, with
Elkin Acosta Lopez and Co-Conspirator 1, from individuals engaged in specified
unlawful activities, including robberies and burglaries. In one particular instance, as
charged in Count One of the Superseding Indictment, the defendant helped broker the
purchase of gold—while working in concert with Elkin Acosta Lopez—to assist in the
laundering of the gold for a profit. Indeed, the defendant assisted in the transaction by
helping broker the deal with the robbers, connecting Elkin Acosta Lopez to the robbers,
helping melt down the gold in New York, and splitting the proceeds of the sale with
Elkin Acosta Lopez and Co-Conspirator 1. Additionally, defendant handed over an
envelope filled with cash to one of the robber’s agents outside of a sporting goods store in
New York. Defendant knew that when he handed over the envelope filled with cash, he
was engaging and assisting in laundering stolen gold and jewelry.

The defendant admits that he helped coconspirators launder stolen jewels,
diamonds, and jewelry on at least two other occasions. Indeed, in February of 2015, the
defendant helped launder approximately $757,418.72 related to a Dallas, Texas, Hobbs

Act robbery. More specifically, the defendant and Elkin Acosta Lopez travelled to

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Dallas, Texas, to purchase the stolen jewelry from the robbers. Both Elkin Acosta Lopez
and the defendant withdrew cash from ATM machines to make the requisite down-
payment to the robbers in exchange for the stolen jewelry. The defendant further admits
that in May of 2016 he assisted in the purchase of several stolen Rolex watches traceable
to a robbery, which caused a loss of $1,080,100. The defendant met with one of the
robbers in Queens, New York, and during the meeting, handed over a bag of cash to one
of the robbers in exchange for the Rolex watches. Defendant was acting at the direction
of Co-Conspirator 1 to launder the stolen Rolex watches.

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The defendant admits that he caused a total monetary loss—related to this

international money laundering conspiracy with Elkin Acosta Lopez, the robbers, and

Co-Conspirator 1—of more than $1.5 million but less than $3.5 million. Defendant

further admits that on all there occasions—February of 2015, May of 2016, and June of

2016—he knew at the time he laundered the stolen jewelry, diamonds, and jewels that the

items represented of some form of unlawful activity in violation of 18 U.S.C. §

1956(a)(1)(A)(i).

AGREED TO AND SIGNED this J3-A day of S¢akn ky p19.

 

 

 

   

ARRINSON CORREDOR
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